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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


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PERRY BURNS,                                   Criminal No. 08-701-4


                  Petitioner,
v.                                             O R D E R

UNITED STATES OF AMERICA

               Respondent.
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      On August 10, 2011, Petitioner filed a Motion for Request

for Sentencing Minutes (filed in 2:08CR00701-04) in order to

prepare a pro se 28 U.S.C. § 2255 with respect to the above

captioned matter. Petitioner has also requested the transcripts

of the recorded conversations that were presented to the jury

during the trial however these recorded conversations were not

transcribed,

      It is on this 23rd day of August 2011,

      ORDERED that Petitioner’s motion is granted and Walter

Perelli, C.C.R., shall provide Petitioner with the May 17, 2010

transcript of his sentencing. Said transcript shall be provided

at the government’s expense.

                                           s/William J. Martini

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                                          WILLIAM J. MARTINI, U.S.D.J.
